






Opinion issued October 9, 2008










In The

Court of Appeals

For The

First District of Texas






NO. 01-07-00311-CV






JOHNNIE BURNETT, Appellant


V.


DONALD W. HAGEDORN, Appellee






On Appeal from the 234th District Court

Harris County, Texas

Trial Court Cause No. 2004-09821






MEMORANDUM OPINION	Appellant Johnnie Burnett has neither established indigence, nor paid or made
arrangements to pay the clerk's fee for preparing the clerk's record.  See Tex. R. App.
P. 20.1 (listing requirements for establishing indigence), 37.3(b) (allowing dismissal
of appeal if no clerk's record filed due to appellant's fault).  After being notified that
this appeal was subject to dismissal, appellant Johnnie Burnett did not adequately
respond.  See Tex. R. App. P. 42.3(c) (allowing involuntary dismissal of case).

	The appeal is dismissed for want of prosecution for failure to pay or make
arrangements to pay the clerk's fee.  All pending motions are denied.


PER CURIAM

Panel consists of Chief Justice Radack and Justices Nuchia and Higley.


